                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

BRANDON SMIETANA and               )
SKYCOIN GLOBAL FOUNDATION LIMITED, )
a Singapore company, and SYMBOLIC  )
ANALYTICS INC. a Delaware Corporation
                                   )
                                   )
                 Plaintiffs,       )                   Case No. 1:22-cv-00708
                                   )
     v.                            )
                                   )                   Honorable Sara L. Ellis
BRADFORD STEPHENS,                 )
AARON KUNSTMAN,                    )
HARRISON GEVIRTZ, f/k/a “HaRRo”,   )                   JURY DEMANDED
RYAN EAGLE,                        )
FAR AHEAD MARKETING, LLC.,         )
JOEL WAYNE CUTHRIELL f/k/a “JOEL”, )
MORGEN PECK, CATHERINE BYERLY,     )
STEVEN LEONARD, JOSHUA OGLE,       )
CONDÉ NAST d/b/a THE NEW YORKER,   )
THE NEW YORKER, and                )
UNKNOWN INDIVIDUALS AND COMPANIES )
                                   )
                 Defendants.       )
                                   )

                     SECOND AMENDED COMPLAINT AT LAW

      NOW COME Plaintiffs, BRANDON SMIETANA (“Smietana”), SKYCOIN GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation (“SA”), by and through their attorneys, The Law Office of Michael C.

Goode, for their Complaint against Defendants, Bradford Stephens, Aaron Kunstman, Harrison

Gevirtz f/k/a “HaRRo”, Ryan Eagle, Far Ahead Marketing, LLC., Joel Wayne Cuthriell f/k/a

“JOEL”, f/k/a “Caribou”, Morgen Peck, Catherine Byerly, Steven Leonard, Joshua Ogle, Condé

Nast d/b/a The New Yorker, The New Yorker, and UNKNOWN INDIVIDUALS AND

COMPANIES, states as follows:
                                           PARTIES

       1.      SKYCOIN GLOBAL FOUNDATION LIMITED, a Singapore Company

(“Skycoin”), is a consortium of related entities involved in the development of software,

hardware, design, manufacturing and services operating under the consumer brand name

“Skycoin”, which includes Skycoin Global Foundation, a Singapore Company (“SGF”), Skycoin

Foundation, a Singapore Company (“SF”), Symbolic Analytics Inc., a Delaware Corporation

(“SA”), Shellpay China, a Chinese Company, as well as other entities that are responsible for

regional operations or management of specific aspects of Skycoin’s global operations.

       2.      Skycoin created 100 million Skycoin Tokens during its launch in 2013, which were

distributed and traded on various exchanges by 2017.

       3.      The peak market capitalization of all existing Skycoin Tokens reached $5 Billion

U.S. Dollars in January 2018.

       4.      Defendants Bradford Stephens (“Stephens”) and Harrison Gevirtz (“Gevirtz”),

recognizing the success of Skycoin, devised a plan and scheme to defraud, extort, and steal money

and assets from Skycoin in concert with some or all of the other named Defendants in this

Complaint.

       5.      Plaintiff Skycoin is a private company organized under the laws of Singapore,

having a principal place of business located at 2 Venture Drive, #11-31, Vision Exchange,

Singapore.

       6.      Plaintiff Symbolic Analytics (hereinafter “SA”) is a private company organized

under the laws of Delaware in the United States.




                                              2
       7.      Plaintiff Brandon Smietana (hereinafter “Smietana” or “Synth”), is an individual

citizen of the United States of America who is the Chief Software Architect and authorized

representative of Skycoin Global Foundation and Symbolic Analytics.

       8.      Defendant Bradford Stephens (hereinafter “Stephens”), is an individual citizen of

the State of Illinois, U.S.A and residing in the City of Chicago.

       9.      Defendant Ryan Eagle (hereinafter “Eagle”), is an individual citizen of the State

of Illinois, U.S.A. and residing in the Village of Buffalo Grove.

       10.     Defendant Harrison Gevirtz (hereinafter “Gevirtz” or “HaRRo”) is an individual

citizen of either the State of New York or the State of California in the U.S.A.

       11.     On information and belief, at all relevant times herein, Gevirtz has been the

administrator and/or owner of blackhatsworld.com, a hacking website.

       12.     Defendant Joshua Ogle (hereinafter “Ogle”), is an individual citizen of the State

of New York. On information and belief, Ogle is the owner of Far Ahead Marketing.

       13.     On information and belief, Defendant Steven Leonard (hereinafter “Leonard”), is

an individual citizen of the State of New York who maintains his residence in the State of Florida.

       14.     On information and belief, Defendant Joel Wayne Cuthriell f/k/a “JOEL”, f/k/a

“Caribou” (hereinafter “Cuthriell”), is an individual citizen of the State of Oklahoma.

       15.     Defendant Far Ahead Marketing, LLC (hereinafter “FAM”) is a Wyoming Limited

Liability Company but maintains its principal place of business in New York, New York.

       16.     On information and belief, at all relevant times herein, FAM has been owned

and/or controlled by Joshua Ogle.

       17.     Defendant Aaron Kunstman, (hereinafter “Kunstman”), is an individual citizen of

the State of Wisconsin who is residing in the City of Milwaukee.


                                               3
       18.     “Sudo” is a network of similarly named Telegram accounts, operated by a

minimum of four persons. At least one of these persons is known to be Kunstman. Bradford

Stephens is widely believed to also be one of the account operators. The other two or more

operators are currently unknown.

       19.     Defendant Eagle Web Assets, Inc. (hereinafter “EWA”) is an Illinois corporation

with its principal place of business in Cook County, Illinois and was involuntarily dissolved on

August 9, 2013.

       20.     On information and belief, despite being dissolved, Eagle and/or Gevirtz continued

doing business as EWA.

       21.     At all relevant times herein, Eagle continued to serve as registered agent for EWA,

and EWA maintained a registered office, in Cook County, Illinois.

       22.     At all relevant times, Defendant Eagle was the founder, President, Secretary, and

a Director of EWA.

       23.     On information and belief, at all relevant times, EWA has been owned and/or

controlled by Defendants Eagle and/or Gevirtz.

       24.     Defendant Catherine Byerly (hereinafter “Byerly”) is a resident of Florida.

       25.     Defendant Morgen Peck (hereinafter “Peck”) is a privately paid freelance

journalist and a resident of New York.

       26.     Defendant Condé Nast is a global mass media company in the business of

producing world leading print, digital, video and social media brands organized under the laws of

the state of New York.

       27.     Defendant The New Yorker is a prominent American weekly magazine owned and

operated by Defendant Condé Nast.


                                              4
        28.     On August 28, 2021, Peck authored an article published in The New Yorker titled

Pumpers, Dumpers, and Shills: The Skycoin Saga. The article can be found on

https://www.newyorker.com/tech/annals-of-technology/pumpers-dumpers-and-shills-the-

skycoin-saga. (See Appendix A)


                                 JURISDICTION AND VENUE

        29.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and 18

U.S.C. § 1964(c) since the district courts have original jurisdiction of all civil actions arising under

the laws of the United States and Plaintiff has asserted a claim under federal law, 18 U.S.C. §

1964 (RICO).

        30.     This Court also has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1332(a)(1),

1332(a)(2) and 1332(a)(3) given that the matter in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs, and in addition thereto, this civil action is between (a)

citizens of different States (28 U.S.C. § 1332(a)(1)),(b) citizens of a State and a citizen or subject

of a foreign state who are not domiciled in the same state (29 U.S.C. § 1332(a)(2)), and/or (c)

citizens of different States and in which a citizen or subject of a foreign state is an additional party

(28 U.S.C. § 1332(a)(3)).

        31.     This Court has subject matter jurisdiction over this matter pursuant to Plaintiffs’

federal trade secret claim pursuant to the Defend Trade Secrets Act, 18 U.S.C. §§1836-39 et seq.,

and 28 U.S.C. §1331 and §1343.

        32.     This Court may exercise supplemental subject matter jurisdiction over Count II

through Count VI and Count VIII through Count XIII pursuant to 28 U.S.C. §§ 1367 because the

claims arise out of the same core or nucleus of operative fact as the other claims and are so related



                                                 5
to those claims that they form part of the same case or controversy. The Plaintiffs also have a

common interest in one or more of the claims.

       33.     Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C. §

1391(b)(1) because several of the Defendants reside in the Northern District of Illinois, and

pursuant to 28 U.S.C. § 1391(b)(2) considering that a substantial part of the events or omissions

giving rise to the claims alleged herein occurred in said district.

       34.     Venue is likewise proper in this judicial district pursuant to 18 U.S.C. § 1965.

Section 1965(b) of RICO provides that process may be served in “any judicial district of the

United States” when required by the “ends of justice” and courts have held that such “nationwide

service of process” provisions also confer personal jurisdiction over a defendant in any judicial

district as long as the defendant has minimum contacts with the United States. The Defendants

have minimum contacts with the State of Illinois and the United States.

                            FACTS COMMON TO ALL COUNTS

       35.     On or about January 8, 2018, Plaintiffs entered into discussions with Defendant

Stephens and Defendant Gevirtz to develop, launch, and manage a comprehensive marketing and

brand awareness program for Skycoin, including, but not limited to, revamping the Skycoin

website, performing search engine optimization services (“SEO”) and generating positive

publicity for Skycoin (the “Marketing Program”).

       36.     On or about January 8, 2018, Stephens represented himself to be the owner of

Smolder LLC, a marketing startup company and the company to which the payments would be

made for the Marketing Program.

       37.     Unbeknownst to Plaintiffs, Defendants Stephens and Gevirtz were prohibited from

engaging in activities such as the Marketing Program pursuant to an FTC Order (“Order”) (See


                                                6
Federal Trade Commission v. CPA TANK, INC., VITO GLAZERS, EAGLE WEB ASSETS INC.,

and RYAN EAGLE, Case No: 14-cv-1239 dated February 19, 2014).

       38.     At all relevant times herein, Defendants were aware of the fact that, under the

Order, payments could not be made to them for marketing activities.

       39.     Defendants Stephens and Gevirtz failed to inform Plaintiffs of the existence of that

Order, and further violated the Order by offering to provide marketing services to Plaintiffs.

       40.     If Plaintiffs had known about the existence of the FTC Order and/or Defendants

had not lied and concealed the FTC Order, Plaintiffs would not have entered into an oral

agreement with Stephens and Gevirtz.

       41.     Plaintiffs reached an oral agreement with Stephens and Gevirtz to implement the

Marketing Program, and as part and parcel of that agreement, paid Bradford and Gevirtz

$107,948.00 ($66,258.00 in the form of four (4) Bitcoins and $41,690.00 in the form of 1,100

Skycoin) (the “Initial Payment”). This Initial Payment included an expense budget for an

upcoming industry conference in Las Vegas, Nevada. There was an explicit agreement that any

expense in excess of $1,000.00 would require prior approval from Skycoin.

       42.     In addition to the aforementioned payments, Plaintiffs paid approximately

$800,000.00 in Skycoin Tokens to Defendants Stephens and Gevirtz for an internet advertising

campaign.

       43.     Shortly after the Initial Payment, Stephens submitted two additional invoices for

certain work allegedly performed by Byerly totaling approximately $14,752.44 (the “Byerly

Payment”).

       44.     On or about January 12, 2018, Defendants Stephens and Byerly notified Plaintiffs

of a potential crisis they discovered that would critically impact Skycoin’s business, marketing,


                                              7
and internet presence. As represented by Defendants Stephens and Byerly, an unknown third

party was presumably targeting Sycoin by linking pornographic blogs and other harmful spam

content to Skycoin’s website. Linking this undesired content to Skycoin’s website would function

to decrease Skycoin’s website’s ranking precipitously in search engines and irrevocably destroy

Skycoin’s image, reputation, and internet presence.

        45.     In order to combat the internet assault by these third parties, Defendants Stephens

and Gevirtz indicated that an additional $38,000.00 would be required.

        46.     On or about January 14, 2018 and January 19, 2018, Skycoin paid Defendants

Stephens and Gevirtz $38,000.00 to combat the internet assault issue.

        47.     In early February of 2018, Skycoin learned that in actuality, there was no third

party. Defendants Stephens and Gevirtz actually instigated the attack themselves as a fraudulent

means to extract additional funds from Skycoin. The invoices submitted by Defendants Stephens

and Gevirtz were fabricated. Gevirtz’s and Stephens' attack on the Skycoin website damaged

Skycoin’s search engine optimization (SEO) ranking and effectively significantly reduced

internet traffic to Plaintiffs’ website.

        48.     As part of the Marketing Program, Skycoin made the following payments to

Defendants Stephens and Gevirtz during January of 2018:

              A. On January 11, 2018. $842,400.00 in the form of 20,000 Skycoin Tokens for the
                 Marketing Program budget;

              B. On January 13, 2018, $14,314.00 in the form of one (1) Bitcoin as a budget for a
                 conference in Miami, Florida;

              C. On January 16, 2018, $121,337.00 in the form of 3,899 Skycoin Tokens as part
                 of the Marketing Program budget; and




                                               8
              D. On January 18, 2018, $23,212.00 in the form of two (2) Bitcoins and $80,929.00
                 in the form of 2,625 Skycoin Tokens for labor cost to Stephens and Gevirtz for
                 their employees performing work on the Marketing Program.

              E. On January 19, 2018, $56,457 in the form of four (4) Bitcoins and $14,679 in the
                 form of 1.30 Bitcoin in two separate payments, for the Marketing Program and to
                 fight off the attacks by third parties on Skycoin’s website. These services were
                 never performed.

        49.     In late January to early February of 2018, Stephens demanded that Skycoin pay

$100,000.00 per month to ward off the third party SEO attacks on Skycoin’s website. Defendant

Stephens later increased this $100,000.00 per month demand to $300,000.00 per month in order

to quell the attacks.

        50.     In early February of 2018, Symbolic Analytics had received deficient invoices

which were highly suggestive of fraud. Upon determining that there may be fraud involved in

Defendants' billings, Plaintiffs discontinued all additional payments.

        51.     On or about February 8, 2018, Defendant Gevirtz made statements to Skycoin’s

IT staff suggesting that he controlled the computers performing the SEO attacks and that they

could be stopped and the links damaging Skycoin’s website could be removed, if Plaintiffs paid

them the money demanded.

        52.     Plaintiffs did not pay these amounts demanded by Defendant Stephens.

                                DEFENDANTS’ EXTORTION

        53.     Upon refusal by Skycoin to pay Defendant Stephens the monthly payments

requested, in or around February of 2018, Defendants Stephens and Gevirtz met Plaintiff

Smietana in Shanghai, China, and in association with Defendant Eagle, who was participating by

Zoom, threatened to have Skycoin delisted from all exchanges including, for example, Bittrex




                                               9
and Binance, unless Smietana agreed to pay them $30,000,000.00 in Bitcoin and $1,000,000.00

in U.S. Dollars.

       54.     Defendants' threats included statements that failure to comply would result in

Skycoin's destruction and the price of Skycoin being driven to zero.

       55.     Defendants Stephens and Gevirtz demanded that Defendant Stephens be made

COO and be put in control of management of the company.

       56.     Defendants further demanded that Plaintiffs make Defendant Gevirtz CFO and put

him in charge of all company accounts in order to create a new company controlled by Defendants

Gevirtz and Stephens and transfer all assets over to the new company.

       57.     Smietana, in fear of Defendants Stephens’s and Gevirtz’s threats of financial

destabilization of Skycoin, capitulated to their demands, and initiated the first of three (3)

extortion payments on or about February 9, 2018, in the amount of $127,000.00 (the “Extortion

Payments”).

       58.     Added factors contributing to Smietana’s agreement to pay the Extortion Payments

were Defendant Gevirtz’s allusions to connections to organized crime cartels in Eastern Europe

that would employ “unconventional debt collection” methods should Smietana not accede to their

demands.

       59.     On or about February 22, 2018, Stephens ended his Marketing Program

engagement with Plaintiffs under pressure from Skycoin's advisory board because of his

association with Defendant Gevirtz and the discovery of the fraudulent invoicing and business

practices.

       60.     Plaintiffs requested a refund of the unspent prepayments made for the Marketing

Program, however, Defendants Stephens and Gevirtz refused to return any of said money.


                                             10
          61.      In and around the time Defendant Stephens and Defendant Gevirtz demanded the

Extortion Payments from Smietana, they also attempted to hostilely seize control of Skycoin.

Specifically, Defendants Stephens and Gevirtz threatened to orchestrate the publication of a series

of negative and damaging articles through various print and online media sources unless Smietana

made Defendant Stephens COO of Skycoin and put Defendant Gevirtz in charge of payroll and

accounting. Effectively, a plot to allow Defendants Stephens and Gevirtz to take over the

company and its assets.

          62.      In furtherance of this conspiracy and plan to take over Skycoin, Stephens paid

journalist Tristian Greene (“Greene”) to write and publish the article entitled “Skycoin: Anatomy

of    a         cryptocurrency    scam,”     February     15,    2018     -    10:47     pm     UTC

(https://thenextweb.com/news/anatomy-of-a-cryptocurrency-scam-in-the-wild)              under         an

anonymous name.

          63.      The negative article caused severe damage to the price of Skycoin Tokens and to

Skycoin’s reputation. Defendant Stephens openly admitted that he was responsible for paying the

journalist to publish the article, but went to Skycoin’s investors and claimed that Smietana had

ordered him to have a negative article published to intentionally destroy the price of Skycoin

Token. Defendant Stephens attempted to organize a management and investor revolt, to transfer

control of the company to Defendants Stephens and Gevirtz, under the pretense that actions

Defendant Stephens had performed were in fact performed by Smietana.

          64.      Greene later cited that same article in another negative Skycoin article on “The

Next Web” on “Exclusive: We suspected this shady cryptocurrency project was a scam. Now

we’re sure of it.” Published March 8, 2018 - 3:22 am UTC,




                                                 11
(https://thenextweb.com/news/exclusive-we-suspected-this-shady-cryptocurrency-project-was-

a-scam-now-were-sure-of-it).

       65.     A key part of Skycoin’s business plan was to be listed on the Bittrex Exchange.

The Bittrex Exchange is a world-wide trading platform that facilitates real-time order execution

of crypto currencies, such as Skycoin.

       66.     Skycoin devoted significant resources to obtain a Bittrex listing, which had been

negotiated through a third party.

       67.     Knowing that Skycoin was about to obtain a Bittrex listing, on or about February

25, 2018, Defendant Stephens threatened Smietana that unless Smietana paid Defendants Gevirtz,

Eagle, and Stephens, he would approach Bittrex and purposely interfere with Skycoin’s third-

party relationships to prevent Skycoin from being listed on Bittrex.

       68.     Smietana refused to pay the money demanded by Defendant Stephens, and in turn

Stephens did, in fact, provide untrue information to Bittrex which ultimately led to the spread of

false rumors regarding Skycoin and Skycoin not being listed on the Bittrex Exchange.

       69.     Between February 26, 2018, through March 9, 2018, Defendants Stephens, Gevirtz

and Byerly stole access to Skycoin’s media accounts, including but not limited to, Skycoin’s

Shopify store, Twitter account, Linkedin account, Slack channel account, and accounts associated

with the operation of Skycoin’s website. These media accounts were an integral and necessary

component of Skycoin’s business.

       70.     On or about October 18, 2018, Defendants Stephens and Gevirtz demanded over

$150,000.00 for return of Skycoin’s stolen computer-based assets and media accounts.

       71.     On or about May 24, 2018, Binace announced that it would list Skycoin on its

exchange. Binance holds itself out as the “world’s largest crypto exchange” and is a trading


                                             12
platform where customers can buy and sell cryptocurrencies. It is highly desirable for

cryptocurrencies to be listed on the Binance exchange.

       72.     On or about June 12, 2018, when Smietana refused to succumb to Defendant

Stephens’ extortion demands, Defendants Stephens, Gevirtz, and Eagle conspired with Yan

Xiandong, Li Min, Sam Sing Fond and Sun Fei (hereinafter collectively referred to as the

“Assailants”) in a plot to kidnap Smietana and his girlfriend, and steal $30,000,000.00 that

Stephens claimed he was due from Skycoin.

       73.     In furtherance of the conspiracy, the Assailants invaded Smietana’s home where

they violently beat and tortured Smietana and his pregnant girlfriend for approximately six (6)

hours in order to gain access to Smietana’s computer systems, Skycoin’s source code, Skycoin

intellectual property, company accounts for operation of business, and cryptocurrency wallets.

       74.     Under threats of further violence and death, Smietana provided the passwords to

his computer. The Assailants stole 18.88 Bitcoin with a market value of $139,160.33 and 6,466

Skycoin with a market value of $81,018.98, totalling $220,179.31.

       75.     During the siege and home invasion, the Assailants called Defendant Stephens and

complained that they did not find the thousands of Bitcoin promised to them.

                          DEFENDANTS' THEFT OF ACCOUNTS

       76.     Prior to Defendant Stephens' separation from Skycoin, upon notice of his

departure, the company made a list of all accounts to which Stephens had authorized access and

thereinafter terminated his access to those accounts.

       77.     Skycoin staff contacted Defendant Stephens requesting that he return all company

assets and company accounts, and to provide accounting statements of expenditures so that

Plaintiffs could calculate how much unspent money was due to the company.


                                              13
       78.     Symbolic Analytics staff and members of Skycoin contacted Defendant Stephens

requesting that he return all company assets and company accounts, and to provide accounting

statements of expenditures so that Plaintiffs could calculate how much unspent money was due

to the company.

       79.     Defendant Stephens acknowledged that there were unspent funds due back to

Plaintiffs, however, instead of returning the money due, Defendant Stephens hacked into the

various company accounts and began to engage in a series of extortion and fraudulent acts against

Skycoin.

       80.     Defendants Stephens, Gevirtz, and Byerly changed the passwords to some of the

company accounts, locked Skycoin and Symbolic Analytics out of them, and then attempted to

extort the Company for an additional $150,000.00. In addition, Defendants Stephens and Gevirtz

refused to return the unspent money that was prepaid and allocated for marketing services. The

amount due back to the Company was in excess of $800,000.00.

       81.     Plaintiffs incurred considerable expense to regain access to the stolen accounts and

to migrate the content to the reacquired accounts. Those accounts included, but were not limited

to, the Medium Account, Shopify, Twitter, Skycoin Telegram, Skycoin Rewards, Facebook, and

Linkedin.

                       DEFENDANTS’ UNAUTHORIZED EXPENSES


       82.     Defendants Stephens, Gevirtz, and Byerly engaged in various schemes to defraud

Skycoin and attempted to invoice unapproved, non-business related costs including a Las Vegas

prostitute orgy, unsubstantiated ATM withdrawals, personal entertainment costs and what is

believed to be money for the purchase of drugs. These expenses were neither approved by Skycoin

nor related to any legitimate business activities.

                                               14
       83.     For example, Defendant Stephens sent invoices to Skycoin totaling $50,000.00 for

cash payments for two days in Las Vegas. Despite several requests, Defendants refused to produce

ATM receipts for the $50,000.00 expense, could not explain how the cash was used, could not

show that the expenses were business related, could not justify the amount spent, and could not

produce receipts for any “cash payments.”

       84.     Defendants Stephens, Gevirtz and Byerly billed Symbolic Analytics for

subcontractors without seeking prior authorization from Plaintiffs for such payments.

       85.     Upon information and belief, Defendants Stephens, Gevirtz, and Byerly engaged

in a scheme to defraud Plaintiffs by invoicing full time rates for subcontractors employed part

time and even invoicing Company for nonexistent persons.

       86.     Defendants Stephens, Gevirtz, and Byerly billed for subcontractors work that not

only both pre-dated and post-dated the Marketing Program, but which also included full time rates

for part-time work and also included invoicing from nonexistent subcontractors.

       87.     Defendants Stephens, Gevirtz, and Byerly billed for invalid date periods, such as

submitting invoices for billing periods prior to the Marketing Program and work performed for

billing periods after the termination of their relationship with Skycoin.

       88.     Defendants Stephens, Gevirtz, and Byerly attempted to bill for costs which had

not been submitted to the Company for preapproval and made misrepresentations to Skycoin staff,

including Skycoin’s Head of Events, who was responsible for event budgets. Stephens made false

misrepresentations claiming that these expenses had received approval, and that the Company had

been notified of the expenses..




                                              15
        89.    Defendants Stephens, Gevirtz, and Byerly attempted to bill the company for

unapproved "events" on non-existent dates. Additionally there were several other strong

indicators that many or all of the claimed expenses were fraudulent or manufactured.

                                       JOSHUA OGLE

        90.    Joshua Ogle (“Ogle”) is the owner of Far Ahead Marketing (“FAM”) and co-

founder of the original agency who orally agreed with Skycoin on or about May 19, 2019, to

provide certain advertising services including Facebook Advertisements.

        91.    In 2019, Defendants Stephens, Gevirtz, Kunstman, and Ogle engaged in a

conspiracy to defraud Skycoin. They engaged a Wikipedia moderator to delete Skycoin's

Wikipedia page in a rigged "vote for deletion" where all users voting against deletion were

banned.

        92.    Upon information and belief, Defendants then messaged Smietana on Telegram

and offered a "Wikipedia Protection Package" costing $180,000.00 a year, to "protect" Skycoin's

Wikipedia page against deletion. Plaintiff Smietana refused payment. As a result, Skycoin's

Wikipedia page was, infact, deleted.

        93.    Upon information and belief, after the deletion of Skycoin's Wikipedia page, Ogle,

an associate of Defendants Stephens and Gevirtz, approached Skycoin and Smietana and offered

marketing services to restore Skycoin's Wikipedia page, if Skycoin retained Ogle's marketing

firm.

        94.    Skycoin and Symbolic Analytics retained Defendant Ogle's marketing firm,

without knowing at this time, his relationship and cooperation with Defendants Stephens, Gevirtz,

and Kunstman. In fact, Defendant Ogle denied at this time having any contact or relationship with

Defendants Gevirtz and Kunstman. However, the Company later discovered Defendant Stephens


                                             16
had previously stated, in writing, that Defendant Gevirtz was "best friends" with Defendant Ogle

and that Ogle had made misrepresentations about his personal relationships and conflicts of

interest.

        95.    Defendant Ogle knew that Plaintiffs would not have made payments to his

marketing firm had he not made misrepresentations and had his conflicts of interests been

previously disclosed. Defendant Ogle purposely made these misrepresentations in order to obtain

payments that would not have otherwise been made.

        96.    Upon information and belief, the Company later received communications

showing that Ogle was cooperating and assisting Defendants Kunstman and Stephens in an

extortion scheme against Skycoin. Defendant Ogle approached the Company and claimed that he

was a “neutral third party” and that he could negotiate and “resolve” the extortion situation.

However, the communications indicate that Defendant Ogle was acting in collusion with

Defendants Kunstman and Stephens to convince the Company to pay the extortion demands,

while making misrepresentations to the Company concerning his conflict of interests and further

lied, concealed, and denied his personal relationships with the involved persons.

        97.    Skycoin paid Defendant FAM $15,000.00 in Bitcoin for such advertising services,

however, the work was never performed.

        98.    Defendant Ogle also made other misrepresentations about the nature of the

services provided to defraud Skycoin and Symbolic Analytics. For instance, Defendant Ogle

invoiced for and provided "reports" showing a "Youtube advertising campaign", however there

was no indication or evidence that the advertisements were actually ever performed.




                                             17
       99.      On or about June 9, 2019, Skycoin paid Defendant FAM an additional $16,000.00

in Bitcoin for marketing placements in United States mainstream magazines and other online

publications.

       100.     Also, Defendant Ogle coordinated a “paid placements” arrangement, where he

would recruit journalists and arrange payments to these journalists for the publication of articles

for the promotion of Skycoin. As part of Defendant FAM’s marketing plan for Skycoin,

Defendant Ogle introduced Smietana to journalist Defendant Morgen Peck (“Peck”) in New York

in June of 2019.

       101.     On or about July 9, 2019, Skycoin paid FAM an additional $10,000.00 in Bitcoin

for Facebook advertising. This Facebook advertising was never placed.

       102.     On or about July 10, 2019, Skycoin paid Defendant FAM $5,000.00 in Bitcoin for

two press releases. Defendant Ogle made numerous misrepresentations about the press releases

and claimed that the press releases were through his own personal contacts. The Company paid

for a “premium” package meant to provide additional circulation in higher tier media outlets.

However, Defendant Ogle performed the press releases using a commercial distribution service,

instead of the type of press release distribution that was agreed upon and paid for. Upon

information and belief, Defendant Ogle’s press release misrepresentation is a scheme to defraud

the Company by substituting the press release service purchased for a sub-standard service to

what was agreed to and paid for.

       103.     On or about September 18, 2019, Skycoin paid Defendant FAM $41,000.00 in

Bitcoin to review its marketing activities in China and to provide guidance on appropriate

advertising strategies. The guidance was to include a report with advice and recommendations

regarding the marketing and promotion of Skycoin.


                                              18
       104.     To provide such advice, Defendant Ogle flew to China, reviewed Skycoin’s

operations, however, no written report was provided. Defendant Ogle then demanded more money

and claimed that he would need to fly back to Shanghai and that several tens of thousands of

dollars were needed to provide the marketing strategy report.

       105.     In October of 2019, Skycoin paid Defendant FAM $40,000.00 by Bitcoin for bus

stop advertising. Bus stop advertisements are ads that are placed on benches and the areas around

the benches people use while waiting for public transportation. These bus stop advertisements

were in fact never placed.

                                    BINANCE DELISTING

       106.     In and around June of 2020, because Smietana refused to capitulate to the

extortion demands, Defendant Stephens, in conjunction with Defendant Kunstman and others

embarked upon a scheme and plan to delist Skycoin from Binance and effectively destroy

Skycoin’s reputation and depress Skycoin Tokens’ market value.

       107.     In furtherance of this plan and scheme, Defendant Stephens solicited other

individuals to make false complaints against Skycoin in order to have Binance delist Skycoin

from the exchange. The false complaints they directed others to make to Binance to achieve the

delisting are as follows:

              A. That Skycoin sells Skycoin Tokens customers outside of the Binance exchange
                 but after receiving the funds, never sends those customers the Skycoin Tokens for
                 which they paid;

              B. That individuals from Skycoin would privately meet with customers and accept
                 payment for Skycoin Tokens at 15% below market value;

              C. After customers consummated such side transactions, they would immediately
                 “dump” the Skycoin Tokens on the market;



                                              19
               D. That Smietana would request that customers privately pay him $1,000,000.00 in
                  Bitcoin or cash for discounted Skycoin Tokens that they could then “dump” on
                  the market immediately and achieve a $150,000.00 profit; and

               E. That Smietana and Skycoin launders money through customers by promising
                  them an immediate 15%-20% profit through the unauthorized purchase of
                  Skycoin Tokens.

        108.     Upon evidence and belief, Defendant Cuthriell and other persons were hired to

 harass Skycoin and interfere with Skycoin’s relationships with exchanges and partners

 corporations, made public statements in Telegram channels bragging that they had paid journalists

 to publish articles to slander the company, and even publicly discussed the type and content of

 false reports that needed to be made against Skycoin in order to achieve a delisting from Binance.

        109.     As part of his plan and scheme to have Skycoin delisted from Binance, Defendants

 Stephens, Kunstman, and Cuthriell also orchestrated having several individuals send repeated

 complaints to Binance that included allegations of drug use and criminal charges against Smietana

 and other baseless allegations.

        110.     As further evidence of the conspiracy, Defendant Cuthriell publicly congratulated

 all persons involved in the Binance delisting of Skycoin with the exclamation of “Nice work

 team” and “PARTY TIME.”

                                       COUNT I
      Violations Of The Racketeer InfluencedAnd Corrupt Organizations Act (Rico)
18 U.S.C. § 1961 Against Bradford Stephens, Harrison Gevirtz, Aaron Kunstman, and Joel
                                    Wayne Cuthriell

        111.     Plaintiffs repeat and reallege Paragraphs 1 through 111 of this Complaint as and

 for Paragraph 112 of this Count I as if fully set forth herein.




                                                20
       112.    Pursuant to 18 U.S.C. §1961(3), each of the named Defendants in this count are

“persons” as each are an "individual or entity capable of holding a legal or beneficial interest in

property.”

       113.    Pursuant to 18 U.S.C. §1961(4), Defendants establish an “enterprise” as they are

an “individual, partnership, corporation, association, or other legal entity, and any union or group

of individuals associated in fact although not a legal entity.”

       114.    Pursuant to 18 U.S.C. §1962(d), "it shall be unlawful for any person to conspire

to violate any of the provisions of subsection (a), (b), or (c) of [18 U.S.C. §1962].”

       115.    As detailed above (¶¶ 38-114), these Defendants have conspired to commit a

years-long and ongoing pattern of racketeering through their association with other parties

organized under the common purpose of extortion and racketeering activities against Plaintiffs.

       116.    Defendants’ association has been ongoing for years for the purpose of obtaining

money from and trying to destroy Plaintiffs S.A. and Skycoin. Accordingly, this group of

Defendants and non-Defendants constitutes an association-in-fact enterprise (hereinafter “the

Enterprise”) as defined 18 U.S.C. §1961(4).

       117.    The Enterprise engaged in a four-year campaign of harassment, fraud, extortion,

and violent threats against Plaintiffs Smietana, S.A., and Skycoin.

       118.    The Enterprise, including Defendants Kunstman, Stephens, and associates

approached Skycoin’s competitors and Smietana’s personal enemies and received money to fund

a full-time harassment and extortion operation (see ¶¶38-114).

       119.    The Enterprise’s operations went on for nearly a four-year period, constituting of

dozens of varied and extensive scams, extortion rackets, protection rackets, and various types of

fraud targeted against Plaintiffs SA, Skycoin and Smietana.


                                               21
       120.      Upon information and belief, this operation included up to eight persons who were

full-time staff, up to 50 persons recruited on a “per task” basis for specific operations, and

dedicated IT managers for operation of “bot nets” of hundreds of computer accounts used against

Skycoin and Smietana in extortion threats. (See Appendix B)

       121.      The Enterprise’s operation also included a campaign of hacking Skycoin’s

corporate accounts, engaging in protection rackets, as well as bribing journalists to write false

statements against Skycoin and then blackmailing and extorting the Company to stop these acts

of harassment.

       122.      This enterprise was operated as a full-time “marketing operation” as a method of

generating income and paying a salary for its members.

       123.      All income derived originated from extortion, marketing manipulation, or the

solicitation of competitors of Skycoin and/or personal enemies of Smietana.

       124.      The persons so engaged in this enterprise openly and publicly admitted that their

objective was to “Destroy Skycoin” and to drive the price of Skycoin Token to zero. (See

Appendix B)

       125.      The Enterprise even engaged in, and induced, violent criminal acts against

Smietana’s person and violent theft of Plaintiff S.A.’s property, in retaliation for failure to pay

Defendants’ and the Enterprise’s extortion demands.

       126.      Defendants and the Enterprise knew they were engaged in racketeering acts.

Defendant Kunstman in private messages explicitly told persons “I am extorting Smietana for

$1,000,000” and offered “a cut” to anyone who participated in the enterprise. (See Appendix B

and Appendix G)




                                               22
         127.     These acts of attempted, or successful, racketeering were multiple, consistently

performed by the same persons, and occurred continuously for nearly four years, and are still on-

going.

         128.     Pursuant to 18 U.S.C. §1962(b), it shall be unlawful for any person through a

pattern of racketeering activity or through collection of an unlawful debt to acquire or maintain,

directly or indirectly, any interest in or control of any enterprise which is engaged in, or the

activities of which affect, interstate or foreign commerce.

                A. The Enterprise affects interstate commerce since its members are located in

                   different states and nations and work together to achieve a common purpose.

                B. Defendants are responsible for sending significant sums of money through wire

                   transfers across state lines.

         129.     The frauds detailed above (¶¶38-114) also constitute violations of the Wire Fraud

statute, pursuant to 18 U.S.C. §1343. These violations formed various schemes to defraud

Plaintiffs of money. Specifically,

                A. The Defendants and the Enterprise intentionally devised a plan to defraud

                   Plaintiffs out of money through the Marketing Program, in direct violation of the

                   FTC Order;

                B. The Defendants and the Enterprise implemented the fake Marketing Program and

                   misrepresented their status with the FTC Order purposely concealed Defendants’

                   relationships with each other, with the intent to defraud Plaintiffs;

                C. It was reasonably foreseeable for Defendants and the Enterprise to use interstate

                   wire communication, since the parties were located in different states and areas




                                                   23
                     of the world, such as Illinois, Wisconsin, Nevada, California, Singapore, and

                     China; and

                  D. The interstate wire communications were used, as evidenced by numerous text,

                     internet, social media, and email messages.

           130.     The extortion schemes also constitute violations of 18 U.S.C. §1951, the Hobbs

Act, which prohibits the obtaining of property through the use of fear, force, or violence.

                  A. Defendants violated the Hobbs Act when inducing violent criminal acts, such as

                     assault against Smietana to obtain money for their extortion demands.

           131.     Defendants and the Enterprise also violated 18 U.S.C. §1832 for theft of trade

secrets.

                  A. Through their acts of violence and extortion demands, Defendants stole trade

                     secrets from Plaintiffs including, but not limited to, computer software, source

                     codes for Skycoin, and various hardware designs.

           132.     Taken together, these “predicate acts” described within this Count I constitute a

pattern of racketeering activity pursuant to 18 U.S.C. §1961(5).

                  A. Specifically, this is an “open pattern”, as it is the regular way the Defendants and

                     the Enterprise do business and will not stop without judicial intervention.

           133.     18 U.S.C §1962(d) states, in pertinent part: “It shall be unlawful for any person to

conspire to violate subsection (c) of this section.” As detailed above, the Defendants have agreed

to the commission of the schemes and have executed the schemes by virtue of an agreement to

conduct an ongoing campaign against S.A. Therefore, the Defendants have violated 18 U.S.C.

§1962(d) by agreeing to violate 18 U.S.C. §1962(c), by participating in the affairs of the

association-in-fact enterprise through a pattern of racketeering activity.


                                                    24
       134.    Defendants are jointly and severally liable for damages.

       135.    This pattern of racketeering has damaged S.A. in excess of $75,000.

       136.    These damages were directly and proximately caused by the Defendants’ pattern

of racketeering against SA.

       WHEREFORE, Plaintiff, SYMBOLIC ANALYTICS, INC., a Delaware Corporation

(“SA”), by and through its attorneys, The Law Office of Michael C. Goode, resepctully pray that

this Honorable Court enter a judgment against Defendants Bradford Stephens, Harrison Gevirtz,

Aaron Kunstman, and Joel Wayne Cuthriell, and each of them, for three times its damages plus

prejudgment interest pursuant to 18 U.S.C. §1964(c), a permanent injunction against the

Defendants restraining them from further racketeering activity against S.A. or its officers or

employees pursuant to 18 U.S.C. §1964(a), costs, attorneys’ fees, and for such other and further

relief as this Court may deem just and fair on the premises. In addition, S.A. requests a jury trial.

                                       COUNT II
            Fraud Against Bradford Stephens, Harrison Gevirtz F/K/A “Harro,”
                                 and Catherine Byerly

       137.    Plaintiffs repeat and reallege Paragraphs 1 through 111 of this Complaint as and

for Paragraph 138 of this Count II as if fully set forth herein.

       138.    Defendants Stephens and Gevirtz approached Plaintiffs representing themselves

as a legitimate advertising and marketing firm, with Defendants Stephens, Gevirtz, and Eagle

Web Assets (EWA) as “business partners” involved in every aspect of the “business”.

       139.    Defendants would later learn that these persons came from a company “EWA”

which had a history of litigation and that these persons were under an FTC Order for fraudulent

marketing practices.




                                               25
        140.    Defendants Stephens, Gevirtz, and Byerly represented to Plaintiff Smietana that

they would provide advertising and marketing services, including web design, online advertising,

conference events, and display advertising.

        141.    Defendants Stephens and Gevirtz represented to Plaintiff Smietana that they would

provide advertising, web design, and marketing services for Plaintiffs in return for payment.

        142.    In reality, Defendants Stephens and Gevirtz had no intention of providing any

advertising, web design, or marketing of any kind for Plaintiffs.

        143.    Defendants Stephens, Gevirtz, and Byerly, in fact, did not provide any advertising

or marketing services for Plaintiffs.

        144.    Defendants Stephens, Gevirtz, and Byerly never provided any web design services

on behalf of Plaintiffs.

        145.    In reliance upon the representations of Defendants Stephens, Gevirtz, and Byerly,

Plaintiffs paid Defendants Stephens, Gevirtz, and Byerly approximately $800,000.00 for their

services and the costs of advertising and marketing.

        146.    When asked, Defendants represented to Plaintiff Smietana that they had no prior

lawsuits that had been filed against them.

        147.    These representations were knowingly false when made.

        148.    In fact Defendants Stephens’ business partners, Defendants Gevirtz and Eagle had

an extensive history of litigation and had been named in multiple lawsuits and were subject to an

FTC injunction for fraudulent marketing practices.

        149.    Following the payment of the initial $800,000.00, Defendants Stephens, Gevirtz,

and Byerly requested additional money including an additional $60,000.00.




                                              26
       150.     Defendants Stephens, Gevirtz, and Byerly made these representations to Plaintiff

Smietana and other Skycoin staff with the intent to induce payments and defraud Plaintiffs.

       151.     These statements made by Defendants Stephens, Gevirtz, and Byerly were false

when made.

       152.     Defendants created scenarios and orchestrated fraudulent crises, making numerous

misrepresentations, solely for the purpose of soliciting more money from Plaintiffs.

       153.     Defendants Stephens, Gevirtz, and Byerly made the following misrepresentations

and/or omissions upon which Plaintiffs justifiably relied to their detriment:

              A. Lied about, concealed and denied history of litigation against Defendants’

                 associates, business partners, and former corporations;

              B. Failed to inform Plaintiffs of the FTC Order and government sanctions against

                 their former company, even when explicitly asked about any history of litigation

                 prior to payment and contract negotiations;

              C. Falsely represented that an unknown third party was targeting Skycoin by linking

                 pornographic blogs and other harmful spam content to Skycoin’s website;

              D. Falsely agreed to seek written pre-approval from the Company for incurred

                 expenses;

              E. Falsely represented that they would provide marketing and advertisement services

                 to Plaintiffs;

              F. Falsely representing that they would provide web design services to Plaintiffs;

                 and

              G. Falsely represented the expenses and costs of said marketing and advertising

                 services.


                                              27
                (See also Facts Common to All Counts)

       154.    Plaintiffs relied upon the representations of Defendants Stephens, Gevirtz, and

Byerly and paid the requested amounts to Defendants.

       155.    As a direct and proximate result of Defendants Stephens, Gevirtz, and Byerly’s

improper actions, Plaintiffs have sustained substantial economic damage through loss of business,

loss of revenue, loss of contracts, loss of market visibility, and damage to their reputation.

       WHEREFORE, Plaintiffs, BRANDON SMIETANA (“Smietana”), SKYCOIN GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation (“SA”), by and through their attorneys, The Law Office of Michael C.

Goode, respectfully pray that this Honorable Court enter a judgment against Defendants Stephens,

Gevirtz, and Byerly, and each of them, for an amount in excess of $75,000.00, and for such other

and further relief as this Court may deem just and fair on the premises.

                                          COUNT III
                                   Fraud Against Joshua Ogle

       156.    Plaintiffs repeat and reallege Paragraphs 1 through 111 of this Complaint as and

for Paragraph 157 of this Count III as if fully set forth herein.

       157.    Defendant Joshua Ogle (“Ogle”) is the owner of Far Ahead Marketing (“FAM”)

who contracted with Skycoin on or about May 19, 2019, to provide certain advertising services

including Facebook Advertisements.

       158.    Ogle, individually and as agent, servant, or employee of FAM, represented to

Plaintiffs that he would provide advertising services, including Facebook Advertisements,

marketing placements in United States mainstream magazines and other online publications, press




                                               28
releases, bus stop advertisements, strategic marketing advice, and a “premium” press release with

a circulation in Yahoo Finance, Barons, and other top tier publications

        159.    These statements were false when made and Defendant Ogle knew them to be false

when made.

        160.    Defendant Ogle purposely misrepresented the quality of services provided by his

marketing company and defrauded Plaintiffs by substituting his advertised services with a

commercial release service, valued at approcimately $400, and kept the remainder of the money

paid by Plaintiffs.

        161.    Skycoin paid FAM $15,000.00 in Bitcoin for such advertising services, however,

the work was never performed.

        162.    On or about June 9, 2019, Skycoin paid FAM $16,000.00 in Bitcoin for marketing

placements in United States mainstream magazines and other online publications for the

promotion of Skycoin’s technology. The articles were never published.

        163.    As part of FAM’s marketing plan for Skycoin, Defendant Ogle introduced

Smietana to journalist Morgen Peck (“Peck”) in New York in June of 2019. In a meeting with

Peck, Ogle, and Smietana, Defendant Peck confirmed that she would be handling the paid

placements for Defendants FAM and Ogle.

        164.    On or about July 9, 2019, Skycoin paid Defendant FAM an additional $10,000.00

in Bitcoin for Facebook advertising. This Facebook advertising was never placed.

        165.    On or about July 10, 2019, Skycoin paid Defendant FAM $5,000.00 in Bitcoin for

two press releases. The press releases never occurred.




                                             29
        166.     On or about September 18, 2019, Skycoin paid Defendant FAM $41,000.00 by

Bitcoin to review its marketing activities in China and to provide guidance on appropriate

advertising strategies.

        167.     To provide such advice, Defendant Ogle flew to China and reviewed Skycoin’s

operations. However, no written recommendations were ever provided. Instead, Defendants Ogle

and FAM’s only advice was to turn over all of Skycoin’s marketing exclusively to Defendant

FAM.

        168.     On or about September 18, 2019, Skycoin paid Defendant FAM $12,000.00 by

wire transfer to create and distribute six (6) press releases.

        169.     Upon failing to provide the marketing services promised, Plaintiffs made multiple

requests for refunds for the services that were not provided. In response to the refund requests,

Defendant Ogle claimed that he could not provide a refund but that he would “roll the money into

the imminent bus stop and New York subway advertising campaign.”

        170.     In October of 2019, Skycoin paid FAM $40,000.00 by wire transfer for bus stop

and subway advertising campaign promised by Defendant Ogle instead of providing Plaintiffs

with a refund. These bus stop and subway advertisements were never placed and the money was

not refunded to Plaintiffs.

        171.     Defendant Joshua Ogle, individually and as agent, servant, or employee of FAM,

and Defendant Far Ahead Marketing, individually and by and through its agents, servants, or

employees, made the following misrepresentations and/or omissions upon which Plaintiffs

justifiably relied to their detriment:

               A. Misrepresented that they would be providing advertising services to Plaintiff;




                                                30
              B. Misrepresenting the need for additional funds to pay for advertisements that were

                 never placed;

              C. Misrepresented that they would provide press releases of the type agreed upon

                 and in the method agreed upon;

              D. Misrepresented that they would provide Facebook advertising;

              E. Misrepresented the cost of the advertisements that they were allegedly placing;

                 and

              F. Misrepresented that they would provide bus stop advertisements.

       172.     Plaintiffs relied upon the representations of Defendant Joshua Ogle, individually

and as agent, servant, or employee of FAM, and Defendant Far Ahead Marketing, individually

and by and through its agents, servants, or employees, and paid the requested amounts to those

Defendants.

       173.     As a direct and proximate result of Defendant Joshua Ogle’s, and Defendant Far

Ahead Marketing’s improper actions, Plaintiffs have sustained damage economically through loss

of business, loss of revenue, loss of contracts, loss of market visibility, and loss of reputation.

       WHEREFORE, Plaintiffs, BRANDON SMIETANA (“Smietana”), SKYCOIN GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation (“SA”), by and through their attorneys, The Law Office of Michael C.

Goode, respectfully pray that this Honorable Court enter a judgment against Defendant Joshua

Ogle, individually and as agent, servant, or employee of FAM, and Defendant Far Ahead

Marketing, individually and by and through its agents, servants, or employees, for an amount in

excess of $75,000.00, and for such other and further relief as this Court may deem just and fair on

the premises.

                                               31
                                    COUNT IV
 Fraud Against Bradford Stephens, Aaron Kunstman, Harrison Gevirtz F/K/A "Harro",
                Joel Wayne Cuthriell F/K/A "Joel", F/K/A "Caribou"

       174.       Plaintiffs repeat and reallege Paragraphs 1 through 111 of this Complaint as and

for Paragraph 175 of this Count IV as if fully set forth herein.

       175.       On or about January 8, 2018, Plaintiffs entered into an oral agreement with

Defendants Stephens, Gevirtz, Kunstman, and Cuthriell wherein these Defendants agreed to

provide marketing services for Plaintiffs.

       176.       Following that agreement, Defendants Stephens and Gevirtz defrauded Plaintiffs

by failing to provide the contracted services, creating false “threats”, and extorting funds from

Plaintiffs through coercion. Once discovered, Plaintiffs attempted to distance themselves from

Defendants. However, in retaliation, Defendants Stephens, Kunstman, Gevirtz, and Cuthriell

began making false online profiles and applications with false information in order to further

defraud Plaintiffs out of approximately $2,000,000.00 worth of Skycoin product.

       177.       Plaintiffs offered a reward program (“Reward Program”) to entice customers to

their business.

       178.       In order to obtain a reward, each participant is required to submit an application

which conformed to S.A.’s terms and conditions. The terms included the following:

              A. Each customer is only allowed to have one active Skywire Rewards account

                  within a single one month period.

              B. Each customer is allowed to claim rewards for up to 8 Skywire nodes in a one

                  month period.

              C. Only one instance of the “Skywire Node” software can be run on a single physical

                  computer.


                                                32
               D. Each customer may operate only a single reward program account within a one

                  month period

               E. Each computer claiming a reward must be a physically separate and independent

                  computer.

               F. It is a violation of the Rewards Program terms and service, for a user to run more

                  than one Skywire node per physical computer.

        179.     Defendants, Cuthriell and Stephens developed software to run over 300 "nodes"

on a single physical computer, to defraud the Reward Program.

        180.     Relying on the misrepresentations, S.A. provided these persons rewards to which

they were not entitled, totaling approximately $2-$4 million (the precise amount of which is

unknown as they have continued to submit fraudulent applications continuously and under

multiple fake aliases). It is a regular method of the conspirators’ business to harass S.A. in this

and other ways, and they will not stop without judicial intervention.

        181.     Plaintiffs relied upon the information provided in those online applications and

profiles.

        182.     Had Plaintiffs known that these profiles and applications were being generated and

submitted by Defendants Stephens, Kunstman, Gevirtz, and Cuthriell repeatedly in order to

accumulate Skycoin under false pretenses, Plaintiffs would not have made Reward Program

payments to Defendants Stephens, Kunstman, Gevirtz, and Cuthriell.

        183.     Defendants Stephens, Kunstman, Gevirtz, and Cuthriell made these repeated false

representations to Plaintiffs through these applications and profiles even though they knew that

they were false and made under false pretenses, with an intent to induce Plaintiffs into providing

the $2,000,000.00 in digital payments/digital assets/digital currency.


                                                33
       184.     Defendants Stephens, Kunstman, Gevirtz, and Cuthriell have at all relevant times

perpetuated and deliberately concealed this fraud from Plaintiffs.

       185.     Defendants Stephens, Kunstman, Gevirtz, and Cuthriell have engaged in a scheme

to defraud Plaintiffs by consistently attempting to conceal this fraud and continue to submit false

applications and profiles to Plaintiffs.

       186.     Defendant Eagle conspired with Defendants Stephens, Kunstman, and Gevirtz to

extort Plaintiffs out of money by threats of physical harm through the Assailants who invaded

Plaintiff Smietana’s home and tortured both him and his then pregnant girlfriend for over six hours.

       187.     As a direct and proximate result of Defendants Stephens, Kunstman, Gevirtz, and

Cuthriell’s improper actions and misrepresentations, Plaintiffs have sustained damage

economically through loss of business, loss of revenue, loss of contracts, loss of market visibility,

and loss of reputation.

       188.     Plaintiffs relied upon the accuracy and truthfulness of the submitted applications

and profiles, and, had Plaintiffs been aware that the representations of Defendants Stephens,

Kunstman, Gevirtz, and Cuthriell were false, Plaintiffs would not have acted as they did.

       WHEREFORE, Plaintiffs, BRANDON SMIETANA (“Smietana”), SKYCOIN GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation (“SA”), by and through their attorneys, The Law Office of Michael C.

Goode, respectfully pray that this Honorable Court enter a judgment against Defendants

STEPHENS, KUNSTMAN, GEVIRTZ, AND CUTHRIELL, and each of them, for an amount in

excess of $75,000.00, and for such other and further relief as this Court may deem just and fair on

the premises.

                                            COUNT V


                                              34
Civil Conspiracy Against Bradford Stephens, Aaron Kunstman, Harrison Gevirtz, F/K/A
 “Harro”, Ryan Eagle, Far Ahead Marketing, Llc., Joel Wayne Cuthriell F/K/A “Joel”,
Morgen Peck, Catherine Byerly, and Joshua Ogle and UNKNOWN INDIVIDUALS AND
                                    COMPANIES

       189.     Plaintiffs repeat and reallege Paragraphs 1 through 111 of this Complaint as and

for Paragraph 190 of this Count V as if fully set forth herein.

       190.     Defendants agreed and conspired with one another to defraud Plaintiffs, tortiously

interfere with their business relationships, commit various acts of wire fraud, computer fraud,

manipulate the cryptocurrency market, and convert Plaintiffs’ property surreptitiously.

       191.     Defendants’ acts in furtherance of the conspiracy included, but were not limited

to:

              A. Devising and implementing the Marketing Program to defraud Plaintiffs of

                 money;

              B. Hacking and linking pornographic blogs and other harmful spam content to

                 Skycoin’s website to decrease Skycoin’s website’s ranking precipitously in

                 search engines and irrevocably destroy Skycoin’s image, reputation, and internet

                 presence;

              C. Threatening Plaintiffs with physical harm to extort them out of money;

              D. Invading Plaintiff Smietana’s home and torturing Plaintiff Smietana and his

                 pregnant girlfriend for approximately six (6) hours in order to gain access to

                 Smietana’s computer systems, Skycoin’s source code, Skycoin intellectual

                 property, company accounts for operation of business, and cryptocurrency

                 wallets;




                                              35
              E. Creating and employing a network of journalists to publish fraudulent articles to

                 destroy Skycoin’s image and reputation in order to drive down the price of

                 Skycoins; and

                       1. Tristan Greene, a journalist and reporter for NextWeb was employed by

                            Defendant Stephens, and knowingly published false articles regarding

                            the legitimacy of Skycoin and Skycoin’s technology;

                            i.   Greene was within Defendant Stephens’ network and at all times

                                 knew Defendant Stephens was not the COO of Skycoin, yet

                                 published that he was, and continued to publish false information

                                 even after Plaintiff Smietana’s continuous attempts to correct the

                                 false claims.

                       2. Employing Defendant Morgen Peck to knowingly write a false and

                            defamatory article published in The New Yorker alleging Skycoin as a

                            fraud and a scam; and

                       3. Publishing an article in Cointelegraph by Simon Chandler, claiming that

                            Plaintiffs’ attackers were “emboldened” to physically harm Plaintiff

                            Smietana due to Skycoin’s “shady dealings.”

        F.       Hacking Skycoin’s Reward Program to defraud Plaintiffs out of millions of

                 dollars.

       192.     Defendants worked in concert with one another to accomplish this fraud as

evidenced by their various communications and concerted acts against Plaintiffs.

       193.     Defendants intended to defraud Plaintiffs out of their money, their product, and to

tortiously interfere with their business relationships.


                                                 36
       194.    As a direct and proximate result of Defendants’ improper actions, Plaintiffs have

sustained damage economically through loss of business, loss of revenue, loss of contracts, loss of

market visibility, and loss of reputation.

       WHEREFORE, Plaintiffs, BRANDON SMIETANA (“Smietana”), SKYCOIN GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation (“SA”), by and through their attorneys, The Law Office of Michael C.

Goode, respectfully pray that this Honorable Court enter a judgment against Defendants Bradford

Stephens, Aaron Kunstman, Harrison Gevirtz, F/K/A “Harro”, Ryan Eagle, Far Ahead Marketing,

Llc., Joel Wayne Cuthriell F/K/A “Joel”, Morgen Peck, Catherine Byerly, and Joshua Ogle and

UNKNOWN INDIVIDUALS AND COMPANIES, and each of them, for an amount in excess of

$75,000.00, and for such other and further relief as this Court may deem just and fair on the

premises.

                                      COUNT VI
                                 Tortious Interference
 Against Bradford Stephens, Aaron Kunstman, Harrison Gevirtz f/k/a “HaRRo”, Joshua
   Ogle, Far Ahead Marketing, Joel Wayne Cuthriell f/k/a “JOEL”, f/k/a “Caribou”,
   Catherine Byerly, Ryan Eagle, and UNKNOWN INDIVIDUALS AND COMPANIES

       195.    Plaintiffs repeat and reallege Paragraphs 1 through 111 of this Complaint as and

for Paragraph 196 of this Count VI as if fully set forth herein.

       196.    Plaintiffs developed business relationships and contracts with various vendors

and customers since its launch in 2013.

       197.    Skycoin sells non-fungible electronic products that fluctuate in value based upon

the market rates on specific internet exchanges.




                                               37
         198.   For Skycoin to do business, it must participate in these internet exchange markets,

such as, but not limited to, Bittrex, Binance, Kraken, Poloniex and Bifinix, in order to sell its

goods.

         199.   Defendants Stephens, Kunstman, Gevirtz, Eagle, FAM, Cuthriell, Byerly, Ogle,

and UNKNOWN INDIVIDUALS AND COMPANIES, orchestrated various schemes to undermine

the reputation of Plaintiffs and cause these internet exchange markets, specifically, Bittrex and

Binance, to remove Plaintiffs’ products from their exchanges (known as “Delisting”).

         200.   Defendants were fully aware of Plaintiffs’ position within these internet exchange

markets.

         201.   Defendants were fully aware that Plaintiffs’ Skycoin Token must be sold on these

internet exchange markets.

         202.   Defendants were fully aware that Plaintiffs had agreements and/or expected

agreements with these internet exchange markets.

         203.   Defendants, nonetheless, acted in concert to cause these internet exchange markets

to remove Plaintiffs’ Skycoin Token from those markets by harassing Skycoin and interfering

with Skycoin’s relationships with exchanges and partners corporations, making public statements

bragging that they had paid journalists to publish articles to slander the company, publicly

discussing the type and content of false reports that needed to be made against Skycoin in order

to achieve a delisting from Binance, and orchestrating having several individuals send repeated

complaints to Binance that included allegations of drug use and criminal charges against Smietana

and other baseless allegations.




                                              38
       204.    At all relevant times herein, Defendants intended to cause harm to Plaintiffs’

reputation and finances in order to interfere with their relationships with these internet exchange

markets, along with their customers and vendors.

       205.    As a direct and proximate result of Defendants’ improper actions, Plaintiffs have

sustained damage economically through loss of business, loss of revenue, loss of contracts, loss

of market visibility, and loss of reputation.

       WHEREFORE, Plaintiffs, BRANDON SMIETANA (“Smietana”), SKYCOIN GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation (“SA”), by and through their attorneys, The Law Office of Michael C.

Goode, respectfully pray that this Honorable Court enter a judgment against Defendants Bradford

Stephens, Aaron Kunstman, Harrison Gevirtz f/k/a “HaRRo”, Joshua Ogle, Far Ahead Marketing,

Joel Wayne Cuthriell f/k/a “JOEL”, f/k/a “Caribou”, Catherine Byerly, Ryan Eagle, and

UNKNOWN INDIVIDUALS AND COMPANIES, and each of them, for an amount in excess of

$75,000.00, and for such other and further relief as this Court may deem just and fair on the

premises.

                                         COUNT VII
                              Conversion Against Steven Leonard

       206.    Plaintiffs repeat and reallege Paragraphs 1 through 111 of this Complaint as and

for Paragraph 207 of this Count VII as if fully set forth herein.

       207.    Defendant Leonard became aware that Plaintiff S.A. owned in excess of 180

Bitcoins.

       208.    Defendant Leonard converted over 180 Bitcoin owned by S.A. and stole the

electronic currency without permission or authority.

                                                39
       209.    Upon evidence and belief, Defendant Leonard was recruited by Defendants

Kunstman, Stephens, and Cuthriell to steal Skycoin’s website, www.skycoin.net, as part of a

conspiracy by to recruit disgruntled Skycoin employees in an attempt to cause damage to Skycoin

and to induce extortion payments. (See Appendix F)

       210.    Defendant Leonard refused to return the website to Skycoin unless Bitcoins were

paid to Defendants Kunstman and Leonard. The theft of the website caused Plaintiffs’

$500,000.00 in damages by forcing Plaintiffs to spend emergency funds.

       211.    Defendant Leonard was also one of numerous employees recruited to steal

Skycoin’s intellectual property and deliver the findings to Defendants Kunstman, Stephens, and

Cuthriell.

       212.    The overtaking of Skycoin’s website and theft of the company’s intellectual

property were both part of a larger scheme to change Skycoin into a new company, “Skycoin

Cash”, and claim that all of Skycoin’s employees had quit their positions with the company to

join Skycoin Cash.

       213.    Since its conversion, Defendant Leonard has not returned the amount of Bitcoin

stolen from Plaintiff S.A., despite repeated requests for him to do so.

       214.    As a direct and proximate result of Defendant Leonard’s improper actions,

Plaintiffs have sustained damage economically through loss of business, loss of revenue, loss of

contracts, loss of market visibility, and loss of reputation.

       WHEREFORE, Plaintiffs, BRANDON SMIETANA (“Smietana”), SKYCOIN GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation (“SA”), by and through their attorneys, The Law Office of Michael C.

Goode, respectfully pray that this Honorable Court enter a judgment against DEFENDANTS for


                                                40
an amount in excess of $75,000.00, and for such other and further relief as this Court may deem

just and fair on the premises.

                                     COUNT VIII
      Violations Of The Defend Trade Secrets Act Against Bradford Stephens, Aaron
  Kunstman, Harrison Gevirtz, F/K/A “Harro”, Ryan Eagle, Far Ahead Marketing, Llc.,
 Joel Wayne Cuthriell F/K/A “Joel”, Catherine Byerly, and Joshua Ogle and UNKNOWN
                           INDIVIDUALS AND COMPANIES

       215.     Plaintiffs repeat and reallege Paragraphs 1 through 111 of this Complaint as and

for Paragraph 216 of this Count VIII as if fully set forth herein.

       216.     As part of Plaintiffs’ business, Plaintiffs developed hardware and software that

worked in conjunction with each other to provide customers with the ability to use and “mine”

Skycoins, while also allowing customers to make initial coin offerings.

       217.     The hardware designs were proprietary and only known to Skycoin officers.

       218.     The software and corresponding source codes allowed Plaintiffs network and

programs to generate, sell, and distribute their digital assetsto customers.

       219.     Defendants violated 18 U.S. Code § 1832 by:

              A. Breaking into Plaintiffs’ computers without authorization, stealing the source

                 codes for their own use and the hardware designs in the hopes of taking over

                 Plaintiffs’ business.

       220.     These source codes and hardware designs are trade secrets unique to Skycoin and

essential to the development and functionality of Skycoins.

       221.     As set forth above, Defendants have misappropriated and used Plaintiffs' Trade

Secret source code and proprietary software architecture, including without limitation confidential

information relating to Plaintiffs’ proprietary architecture design, proprietary software, and

internal software methodology (“Plaintiffs’ Trade Secrets”).


                                               41
       222.     Plaintiffs’ Trade Secrets were sufficiently secret and maintained so that only

Plaintiffs’ principal, Brandon Smietana, was privy to each and every trade secret and their

collective uses.

       223.     Plaintiffs’ Trade Secrets are sufficiently secret to derive economic value, actual or

potential, from not being generally known to other persons who can obtain economic value from

their disclosure or use.

       224.     Public knowledge of the trade secret source codes and hardware affect the

marketability of Skycoin tokens.

       225.     Plaintiffs have at all relevant times taken steps that are reasonable under the

circumstances to maintain the secrecy and confidentiality of their Trade Secrets.

       226.     Defendants attained these trade secrets of Plaintiffs by breaching Plaintiffs’

software and source code in order to use and disseminate Plaintiffs’ Trade Secrets.

       227.     Defendants were fully aware that the information comprising Plaintiffs’ Trade

Secrets were secret, confidential, and maintained in such a way as to prevent disclosure to third

parties, and specifically competitors.

       228.     Defendants violated the Defend Trade Secrets Act by and through the following

acts and omissions:

              A. Utilizing Plaintiffs’ Trade Secrets in Defendants’ products, equipment, and within
                 its industry;

              B. Misappropriating Plaintiffs’ proprietary hardware designs;

              C. Misappropriating Plaintiffs’ source code;

              D. Divulging Plaintiffs’ Trade Secrets to third parties; and


              E. Using improper means to access and misappropriate Plaintiffs’ source code.

                                               42
       229.    As a direct and proximate result of Defendants’ improper actions, Plaintiffs have

sustained damage economically through loss of business, loss of revenue, loss of contracts, loss of

market visibility, and loss of reputation.

       WHEREFORE, Plaintiffs, BRANDON SMIETANA (“Smietana”), SKYCOIN GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation (“SA”), by and through their attorneys, The Law Office of Michael C.

Goode, respectfully pray that this Honorable Court enter a judgment against Defendants Bradford

Stephens, Aaron Kunstman, Harrison Gevirtz, F/K/A “Harro”, Ryan Eagle, Far Ahead Marketing,

Llc., Joel Wayne Cuthriell F/K/A “Joel”, Catherine Byerly, and Joshua Ogle and UNKNOWN

INDIVIDUALS AND COMPANIES, and each of them, for an amount in excess of $75,000.00,

and for such other and further relief as this Court may deem just and fair on the premises.

                                      COUNT IX
  Unjust Enrichment Against Bradford Stephens, Aaron Kunstman, Harrison Gevirtz,
  F/K/A “Harro”, Ryan Eagle, Far Ahead Marketing, Llc., Joel Wayne Cuthriell F/K/A
      “Joel”, Catherine Byerly, Steven Leonard, and Joshua Ogle and UNKNOWN
                          INDIVIDUALS AND COMPANIES

       230.    Plaintiffs repeat and reallege Paragraphs 1 through 111 of this Complaint as and

for Paragraph 231 of this Count IX as if fully set forth herein.

       231.    Defendants were provided approximately $860,000.00 in funds to provide

marketing, advertising, and web design services to Plaintiffs.

       232.    These funds and goods were not earned and Plaintiffs received no equivalent value

for them in return.




                                               43
       233.    It would be unconscionable and against fundamental principles of justice, equity

and good conscience for Defendants to retain the benefit from those funds, which were paid by

Plaintiffs without receiving any benefit in return.

       234.    Defendants also obtained approximately $2,000,000.00 in Skycoin Tokens

through false reward applications.

       235.    These funds and goods were not earned, were stolen by fraudulent means, and

Plaintiffs received no equivalent value for them in return.

       236.    It would be unconscionable and against fundamental principles of justice, equity

and good conscience for Defendants to be unjustly enriched by retaining the benefit from the

stolen funds, without Plaintiffs receiving any benefit in return.

       237.    As a direct and proximate result of Defendants’ improper actions, Plaintiffs have

sustained damage economically through loss of business, loss of revenue, loss of contracts, loss of

market visibility, and loss of reputation.

       WHEREFORE, Plaintiffs, BRANDON SMIETANA (“Smietana”), SKYCOIN GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation (“SA”), by and through their attorneys, The Law Office of Michael C.

Goode, respectfully pray that this Honorable Court enter a judgment against Defendants Bradford

Stephens, Aaron Kunstman, Harrison Gevirtz, F/K/A “Harro”, Ryan Eagle, Far Ahead Marketing,

Llc., Joel Wayne Cuthriell F/K/A “Joel”, Catherine Byerly, Steven Leonard, and Joshua Ogle and

UNKNOWN INDIVIDUALS AND COMPANIES, and each of them, for an amount in excess of

$75,000.00, and for such other and further relief as this Court may deem just and fair on the

premises.



                                               44
                                         COUNT X
                               Defamation Against Morgen Peck

       238.     Plaintiffs repeat and reallege Paragraphs 1 through 111 of this Complaint as and

for Paragraph 239 of this Count X as if fully set forth herein.

       239.     Defendant The New Yorker is an American weekly magazine publication.

       240.     At all times relevant herein, Defendant Peck was an agent of The New Yorker.

       241.     At all times relevant herein, Defendant Peck was an apparent agent of The New

Yorker.

       242.     At all times relevant herein, Defendant Peck was acting within the course and scope

of her authority as an agent of The New Yorker.

       243.     At all times relevant herein, Defendant Peck was acting within the course and scope

of her authority as an apparent agent of The New Yorker.

       244.     On Aug 18, 2021 an article submitted by Morgen Peck was published in The New

Yorker. (See Appendix A)

       245.     The New Yorker has 6 million monthly readers, 16 million digital users, and 16.8

million social media followers.

       246.     Defendant Peck published blatant lies and misrepresentations about Plaintiffs in her

article including, but not limited to the following:

              A. Misrepresenting Smietana’s relationship with Defendant Stephens and Defendant

                 Stephens’ involvement with Skycoin and Skycoin’s marketing campaign; (See

                 Appendix A)

              B. Statements alluding to Smietana and Skycoin as a fraud and a scammer, such as:



                                               45
         1. “In a way, it makes you into a fraud”;

         2. “Is it a scam? I’m 99 percent sure of it”; and

         3. Suggesting that Skycoin was part of a “pump and dump” scheme. (See

            Appendix A)

C. Falsely stating Stephens has recordings of Smietana stating, “We want to feminize

   the peasant population to make them more docile ... [i]t’s so they don’t revolt.”

   (See Appendix A)

         1. Smietana asked Defendant Peck on multiple occasions regarding the

            existence of the alleged recording to verify the contents of her claims for

            this statement, however Defendant Peck never confirmed that she

            obtained such a recording, even though it was used as a purported source

            for factual information in the article.

         2. Smietana also denied such statements to Defendant Peck multiple times,

            each time reiterating that they were fabricated and untrue. Defendant

            Peck still published the statements.

         3. Defendant Peck admitted to Smietana that no one she interviewed would

            collaborate with the quotes given by Stephens. Therefore, Defendant

            Peck knew or should have known the published quotes were false.

         4. Defendant Peck knew that Defendants Stephens and Kunstman were

            members of the neo-nazi, alt-right internet forum “/pol/” and that similar

            antisemitic quotes were circulated there




                                 46
         5. As a result of the publication of the article, a Neo Nazi publication cited

             to the false statement from Defendant Peck’s article quoting Smietana,

             and thereby causing damage to Plaintiffs’ reputation.

         6. As a result of the publication of this statement, Smietana was subjected

             to numerous death threats, harrassment, and various hate crimes. (See

             Appendix D)

D. Stating falsely that Smietana invited Binance executives to a Skycoin party during

   a 2018 conference in Las Vegas and instructed Stephens to hire prostitues for the

   executives; (See Appendix A)

         1. In fact, it was confirmed there were no Binance executives at the

             conferece and the party was a private party of Defendant Stephens,

             without any affiliations to Skycoin or Plaintiffs. (See Appendix C)

         2. Defendant Stephens’ job was to set up meetings at conferences. He

             unilaterally held a private party without instruction to do so. Any

             approval for holding an event was contingent upon finding people from

             Binance, who were, in fact, not even in attendance at the conference.

         3. This inaccurate depiction of events was designed to destroy the

             relationship between Binance and Skycoin and was manufactured solely

             to do damage to Plaintiffs’ reputation and business.

         4. Defendant Peck knew or should have known the statements were false,

             because Smietana sent her the messages from Defendant Stephens for the

             conference.


                                 47
               5. Defendant Peck interviewed Michael Terpin (the event organizer) and

                  Daken Freebourne (Skycoin's head of events), who explicitly told

                  Defendat Peck that Stephens was a compulsive liar and that his account

                  was fabricated.

          6.      Defendant Peck merged stories from three separate conferences into a

                  non-factual and defamatory account, designed to inflict damages to

                  Plaintiffs.

     E. Conclusory and unsupported statements by others;

               1. Stating that “according to several people” (without any further evidence),

                  that Skycoin privately sold to investors at a discounted rate; (See

                  Appendix A)

               2. The article continuously includes unsupported statements supposedly

                  from “employees” of Skycoin, however Peck told Smietana in

                  conversations that she did not have documentation to show who these

                  “employees” were, if and when they worked at Skycoin, or any

                  confirmation of their statements.

          3.      Defendant Peck published statements made by people against whom she

                  knew Plaintiff Smietana had an ongoing lawsuit against and therefore

                  knew or should have known these were unreliable sources.

F.      Falsely accusing Smietana of pre-mining “a hundred million coins, which were

        scheduled for circulation”; (See Appendix A)




                                       48
        1. Peck published this statement with full knowledge that Skycoin does not

            engage in any mining.

        2. During fact checking, Peck referenced a website that listed companies

            with pre-mine scams. (https://altcoins.com/scamcoins) (See Appendix J)

             i.   The website listed “SYC Skycoin – premined” under a list titled,

                  “List of scamcoins – do not use”

            ii.   SYC Skycoin is a completely different company from SKY

                  Skycoin (Plaintiff).

           iii.   Peck knew that SYC was not Plaintiffs’ company and that SYC was

                  not SKY.

           iv.    Therefore, Peck falsely accused and published in her article that

                  Plaintiff Skycoin engaged in a pre-mining scam.

G. Falsely accusing Smietana of directing Skycoin’s marketing unit to purposely

   spread negative rumors to attract attention by stating “In a chat with investors,

   Smietana said that they sometimes spread negative rumors about Skycoin, in order

   to attract attention”; (See Appendix A)

        1. Peck does not provide support to confirm where this chat was from, who

            the “investors” were, or the full context of the conversations.

        2. The quote itself is purposely suggestive and alludes that Skycoin

            publishes negative rumors for promotion, but does not clarify who “they”

            are that “spread negative rumors. ”



                                49
H.   Falsely accusing Smietana of “plotting new distractions”;

          1. In support, Peck quoted Smietana, “Quick, someone photoshop video of

              me being beheaded by ISIS and see if you can get them to write an article

              about it.”

          2. The quote was purposely skewed by Peck and taken out of context to

              defame Smietana and Skycoin.

          3. The quote is a snippet of a message that clearly signifies a joke, in which

              the full text reads “The media is retarded. They are still writing articles

              about the ‘insider trading’ of cat memes, fake news. Quick, someone

              photoshop video of me being beheaded by ISIS and see if you can get

              them to write an article about it. ‘Kittycash CEO beheaded by ISIS after

              SEC investigation.’” (See Appendix I)

I.   Purposely taking direct quotes from chatrooms/messaging conversations and

     placing them out of context to twist their meaning and damage Plaintiffs;

          1. Peck wrote, “A few weeks into the sell-off, a voice message from

              Smietana emerged on Telegram that seemed to imply that the biggest

              Skycoin investors were coordinating their moves in a secret chat

              room. Smietana said in the message, of the investors, “Everyone was

              basically doing the exact opposite of whatever the public was doing.”

              (Smietana acknowledged being in the chat room at one point but claimed

              that he was barely involved.)” (See Appendix A)



                                  50
    i.   The quote was purposely misconstrued as it had nothing to do with

         insider trading channels;

   ii.   It was evident from the chat conversations that any reference to any

         “secret insider trading” was a joke. (See Appendix I)

  iii.   Peck knew that the “secret chat rooms” were, in fact, public

         channels, accessible to all people.

2. Defendant Peck quoted Smietana as stating “If you put in a million

   dollars now, and we have a run just as large as the last one, you’re going

   to be at fifty million dollars.”

    i.   This statement was knowing taken out of context, altering its

         meaning, and presenting Smietana in a false light.

   ii.   Defendant Peck’s quote claims that Smietana engaged in price

         promotion for Skycoin, knowing that Smietana was prohibited

         from making such statements by company policy and that Smietana

         could be fired or reprimanded for violation of company policy for

         making these statements.

  iii.   Defendant Peck knew, or should have known, these out of context

         statements would expose Plaintiff Smietana to legal liability and

         damage his reputation and business.

  iv.    Defendant Peck admitted to Smietana that she could find no

         example of Smietana engaging in price promotion.

3. Defendant Peck quoted Smietana as stating, “many could be

   corroborated only by people whom he swore existed but who couldn’t

                        51
                 talk because they had government security clearance, or were in hiding,

                 or because he didn’t know their real names”.

                  i.   Smietana actually said, “all software developers who work in

                       cryptography have government security clearance, because

                       government contractors are the only clients of the industry.”

                 ii.   Peck distorted, or even manufactured, statements wholesale for the

                       purpose of defaming Plaintiffs.

     J. Falsely accusing Smietana of having sole control of the “pre-mined” coins and

        Skycoin’s virtual wallets; (SeeAppendix A)

             1. It is public knowledge that Skycoin is an incorporated corporate entity

                 and not under the sole control of one person.

             2. Peck had posession of Skycoin’s incorporation documents and corporate

                 structure, and therefore knew, or should have known, that her statements

                 were false.

K.      Accusing Smietana of soliciting advice from an online personality who used a

        Hitler avatar in his profile; (See Appendix A)

             1. Peck admitted to Smietana during fact checking that she could not find

                 any evidence substantiating her statement that Smietana solicited and

                 made payments to internet users with a Hitler avatar.

             2. Defendant Peck admitted to Smietana, that only Defendants Stephens

                 and Kuntsman had made these claims, and that no other persons could

                 corroborate these statements.


                                     52
          3. Peck continued to publish the above statement, knowing its defamatory

              and false nature.

L.   Alleging that Smietana lied about the extent of his medical injuries sustained from

     the attack on himself and his girlfriend, even after publishing that Smietana’s

     attackers admitted to detaining and injuring Smietana and his girlfriend; (See

     Appendix A) and

          1. Smietana provided Peck with copies of court proceedings and medical

              records, completely contradicting the false statements she published in

              the article.

M.   Alleging that Smietana used the attack on himself and his girlfirend to “use his

     power to freeze Skycoin transactions,” (See Appendix A) when Smietana clearly

     stated in an official announcement to the Company that funds were frozen after

     making sure all Skycoin staff were safe after the attack and extortion demands.

     (See Appendix H)

          1. Peck knew that Skycoin’s lead developer, Defendant Steven Leonard –

              not Smietana - had initated freezing the stolen funds from the Chinese

              marketing team and employee accounts after the company detected

              embezzlement.

          2. Peck knew that the funds that were frozen were solely company accounts.




                                  53
              N. Defendant Peck implied that That Smietana had been employed as a software

                 developer by the notorious Washington DC lobbyist, Jack Amabrov, who had

                 several felony convictions, including a plea bargains for SEC violations.

                      1. Defendant Peck was aware that the allegation were false because the

                          company directly informed her that Smietana had briefly spoken to them

                          in 2018, but that no agreement had been reached.

                      2. Defendant Peck admitted that the statements were false and apologized

                          to Smietana multiple times for bringing up false claims.

                      3. Defendant Peck knew or should have known that claiming Smietana had

                          been employed by Jack Amabrov, would cause severe damage to

                          Plaintiffs’ business and reputation.

              O. Defendant Peck implied that one of Skycoin’s mathematical algorithms,

                 “Obelisk”, did not actually exist and that Plaintiffs committed fraud.

                      1. Defendant Peck knew that these statements were false, as she had

                          possession of both the source codes and white paper for the algorithm.

                      2. Additionally, Skycoin’s algorithm papers were published on Skycoin’s

                          website and in peer reviewed journal articles. This information was

                          publicly available, and Defendant Peck had access to the public links to

                          these algorithms.

                      3. Defendant Peck had this information at the time she claimed these

                          algorithms did not exist.

       247.     Defendant Peck published that “Stephens came up with a plan to strip Smietana of

power and transfer management of the company to a foundation.” (See Appendix A)


                                              54
       248.    Defendant Peck, knowing that Defendant Stephens’ intentions were to take the

Company from Smietana, continued to base her article on information provided mainly by

Defendant Stephens, completely disregarding his clear bias and motive to disenfranchise Smietana

from Skycoin and seize control of the Company.

       249.    After publication of the article, a former employee of Defendant Stephens and

Kunstman contacted Plaintiffs stating that Peck received money to intentionally produce and

publish a defamatory article attacking Plaintiffs and would receive bonus payments for destroying

Skycoin’s relationship with Binance. (See Appendix C)

       250.    The statements made by Defendant Peck in the article were purposely false and

defamatory in return for financial gain and personal benefit of Peck.

       251.    Defendant Peck acted within the scope of her agency with principal The New

Yorker when she submitted and published the article.

       252.    As a direct and proximate result of Defendant Peck’s libelous publication, Plaintiffs

have sustained damage economically through loss of business, loss of revenue, loss of contracts,

loss of market visibility, and loss of reputation.

       253.    As a direct and proximate result of the libelous publication in the New Yorker,

Smietana suffered serious damage to his reputation, which resulted in numerous death threats,

harrassment, and financial harm to his company.

       WHEREFORE, Plaintiffs, BRANDON SMIETANA (“Smietana”), SKYCOIN GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation (“SA”), by and through their attorneys, The Law Office of Michael C.

Goode, respectfully pray that this Honorable Court enter a judgment against Defendant MORGEN



                                                55
PECK for an amount in excess of $75,000.00, and for such other and further relief as this Court

may deem just and fair on the premises.

                                    COUNT XI
  Defamation Against Condé Nast D/B/A The New Yorker And The New Yorker, As An
                           Individual And Agent Of Condé Nast

        254.   Plaintiffs repeat and reallege Paragraphs 1 through 111 and Paragraphs 239 to 254

of this Complaint as and for Paragraphs 255 of this Count XI as if fully set forth herein.

        255.   Defendant Condé Nast is a global mass media company operating various brands,

including Defendant The New Yorker.

        256.   Defendant The New Yorker is an American weekly magazine publication owned

and operated by Defendant Condé Nast.

        257.   At all times relevant herein, Defendant The New Yorker was an agent of Condé

Nast.

        258.   At all times relevant herein, Defendant Peck was an agent of The New Yorker.

        259.   At all times relevant herein, Defendant The New Yorker was an apparent agent of

Condé Nast.

        260.   At all times relevant herein, Defendant Peck was an apparent agent of The New

Yorker.

        261.   At all times relevant herein, The New Yorker was acting within the course and

scope of its authority as an agent of Condé Nast.

        262.   At all times relevant herein, The New Yorker was acting within the course and

scope of its authority as an apparent agent of Condé Nast.



                                              56
       263.     The New Yorker has 6 million monthly readers, 16 million digital users, and 16.8

million social media followers.

       264.     On August 18, 2021, The New Yorker, acting as an agent of Defendant Condé Nast,

published Defendant Peck’s article which reached millions of readers worldwide. (See Appendix

A)

       265.     Approximately one week prior to publication, Anna Boots, Fact Checker for The

New Yorker, contacted Smietana regarding the article and stated:

              A. That Peck’s article was the longest fact checking she ever had to do (approximately

                 3 months);

              B. That numerous unsubstantiated claims were made in Peck’s article;

              C. That Peck interviewed Michael Terpin regarding the 2018 Las Vegas conference

                 and he informed her that Defendant Stephens was an unreliable source and a

                 compulsive liar;

              D. That the fact checking process was difficult to complete because almost all the

                 information was provided two people, with most claims and statements being

                 unsubstantiated; and

              E. That her editor at The New Yorer set a “firm publication date regardless of [fact

                 checking] completion.”

       266.     The New Yorker, acting within the scope of its agency, published Peck’s article

without properly and completely fact checking the defamatory statements made and checking

Peck’s sources and their credibility.



                                               57
       267.    As a direct and proximate result of the libelous publication in The New Yorker,

Plaintiffs suffered economic damage through loss of business, loss of revenue, loss of contracts,

loss of market visibility, and loss of reputation.

       268.    As a direct and proximate result of the libelous publication in the New Yorker,

Smietana suffered serious damage to his reputation, which resulted in numerous death threats,

harrassment, and financial harm to his company.

       WHEREFORE, Plaintiffs, BRANDON SMIETANA (“Smietana”), SKYCOIN GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation (“SA”), by and through their attorneys, The Law Office of Michael C.

Goode, respectfully pray that this Honorable Court enter a judgment against Defendants CONDÉ

NAST d/b/a THE NEW YORKER and THE NEW YORKER, individually and as agent of

CONDÉ NAST, for an amount in excess of $75,000.00, and for such other and further relief as

this Court may deem just and fair on the premises.

                                    COUNT XII
  Breach Of Fiduciary Duty Against Bradford Stephens, Aaron Kunstman, Harrison
Gevirtz, F/K/A “Harro”, Far Ahead Marketing, Llc., Joel Wayne Cuthriell F/K/A “Joel”,
Catherine Byerly, and Joshua Ogle and UNKNOWN INDIVIDUALS AND COMPANIES

       269.    Plaintiffs repeat and reallege Paragraphs 1 through 111 of this Complaint as and

for Paragraph 270 of this Count XII as if fully set forth herein.

       270.    At various times Defendants Stephens, Kunstman, Gevirtz, FAM, Cuthriell,

Byerly, Leonard, and Ogle were acting as contractors hired by Plaintiffs to perform certain duties

for the marketing of Skycoin.

       271.    Per that relationship and agreement, Defendants were to adhere to the terms of the

agreements and provide the services promised.

                                                58
       272.    Defendants instead engaged in various schemes to defraud Plaintiffs, including

promising marketing and promotions materials that were never performed, implementing public

schemes to damage Plaintiffs’ reputation needing immediate marketing damage control, and

providing marketing services below the quality and type of what was agreed upon.

       273.    Defendants did not provide the promised services to Plaintiffs, despite Plaintiffs

having paid for those services.

       274.    Defendants had a duty to adhere to the terms of the agreements and to provide

Plaintiffs with the promised services.

       275.    Defendants breached that duty by failing to adhere to the terms of the agreements

and failing to provide Plaintiffs with the promised services.

       276.    As a direct and proximate result of Defendants’ improper actions, Plaintiffs have

sustained damage economically through loss of business, loss of revenue, loss of contracts, loss of

market visibility, and loss of reputation.

       WHEREFORE, Plaintiffs, BRANDON SMIETANA (“Smietana”), SKYCOIN GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation (“SA”), by and through their attorneys, The Law Office of Michael C.

Goode, respectfully pray that this Honorable Court enter a judgment against Defendants Bradford

Stephens, Aaron Kunstman, Harrison Gevirtz, F/K/A “Harro”, Far Ahead Marketing, Llc., Joel

Wayne Cuthriell F/K/A “Joel”, Catherine Byerly, and Joshua Ogle and UNKNOWN

INDIVIDUALS AND COMPANIES, and each of them, for an amount in excess of $75,000.00,

and for such other and further relief as this Court may deem just and fair on the premises.




                                              59
                                    COUNT XIII
Breach of Contract Against Bradford Stephens, Aaron Kunstman, Harrison Gevirtz f/k/a
          "HaRRo", and Joel Wayne Cuthriell f/k/a "JOEL", f/k/a "Caribou"

       277.     Plaintiffs repeat and reallege Paragraphs 1 through 111 of this Complaint as and

for Paragraph 278 of this Count XIII as if fully set forth herein.

       278.     On or about January 8, 2018, Plaintiffs entered into an agreement with Defendants

Stephens, Gevirtz, Kunstman, and Cuthriell wherein these Defendants agreed to provide

marketing services for Plaintiffs.

       279.     Following that agreement, Defendant Stephens and Gevirtz failed to provide the

contracted services, creating false “threats,” and extorting funds from Plaintiffs through coercion.

       280.     Defendants did not adhere to the terms of the Agreement despite payment.

       281.     Plaintiffs, at all times relevant herein, fully performed on their obligations under

the Agreements with Defendants.

       282.     Defendants failed to provide any advertising or marketing services to Plaintiffs

during the duration of the contract.

       283.     Defendants breached their obligations under the contract through the following

acts or omissions:

              A. failing to provide advertising services;

              B. Failing to provide marketing services;

              C. failing to use the funds provided for the advertising or marketing services;

              D. failing to provide web design services;

              E. failing to use funds to effectuate any web design;

              F. failing to stay within the bounds of the expense budget; and

              G. attempting to extort additional funds outside of the contract terms.

                                               60
       284.    As a direct and proximate result of Defendants’ improper actions, Plaintiffs have

sustained damage economically through loss of business, loss of revenue, loss of contracts, loss of

market visibility, and loss of reputation.

       WHEREFORE, Plaintiffs, BRANDON SMIETANA (“Smietana”), SKYCOIN GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation (“SA”), by and through their attorneys, The Law Office of Michael C.

Goode, respectfully pray that this Honorable Court enter a judgment against Defendants Bradford

Stephens, Aaron Kunstman, Harrison Gevirtz f/k/a "HaRRo", and Joel Wayne Cuthriell f/k/a

"JOEL", f/k/a "Caribou", and each of them, for an amount in excess of $75,000.00, and for such

other and further relief as this Court may deem just and fair on the premises.

                                      COUNT XIV
        Violations 720 ILCS 5/12-7.1 Against Bradford Stephens, Aaron Kunstman,
                          and Harrison Gevirtz f/k/a "HaRRo"

       285.    Plaintiffs repeat and reallege Paragraphs 1 through 111 of this Complaint as and

for Paragraph 286 of this Count XIV as if fully set forth herein.

       286.    On information and belief, during the years 2019 – 2021, Defendants Stephens,

Kunstman, and Gevirtz, through various internet media and in person, made numerous antisemetic

statements and threats of death, kidnapping, and other acts of violence against Plaintiff Brandon

Smietana.

       287.    All of these threats were based on Smietana’s religion and Jewish heritage.

       288.    Defendants also discussed Company as a “Jew coin”, called holders of Skycoin

Tokens “Skygoyim”,and other similar hate speech, which Smietana perceived as a direct threat

due to his being Jewish. (See Appendix D)

                                              61
       289.    Defendants posted these messages on various social media platforms and also

made said threats directly to Plaintiff.

       290.    In furtherance of their treaths, Assailants invaded Smietana’s home where they

violently beat and tortured Smietana and his pregnant girlfriend for approximately six (6) hours

in order to gain access to Smietana’s computer systems, Skycoin’s source code, Skycoin

intellectual property, company accounts for operation of business, and cryptocurrency wallets.

       291.    Under threats of further violence and death, Smietana provided the passwords to

his computer. The Assailants stole 18.88 Bitcoin with a market value of $139,160.33 and 6,466

Skycoin with a market value of $81,018.98, totalling $220,179.31.

        WHEREFORE, Plaintiffs, BRANDON SMIETANA (“Smietana”), by and through his

attorneys, The Law Office of Michael C. Goode, respectfully pray that this Honorable Court enter

a judgment against DEFENDANTS, Defendants Bradford Stephens, Aaron Kunstman, Harrison

Gevirtz f/k/a "HaRRo,"and each of them, for an amount in excess of $75,000.00, punitive

damages, and for such other and further relief as this Court may deem just and fair on the premises.



                                                   Respectfully Submitted,

                                                   BRANDON SMIETANA,
                                                   SKYCOIN GLOBAL FOUNDATION
                                                   LIMITED, and SYMBOLIC ANALYTICS



                                                   By:        /s/Michael C. Goode
                                                              One of Their Attorneys
Michael C. Goode, Esq.
Michael C. Goode & Company
111 West Washington Street, Suite 1750
Chicago, Illinois 60602
lawoffice_mcgoode@yahoo.com


                                              62
63
